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12                         UNITED STATES DISTRICT COURT
13                       EASTERN DISTRICT OF CALIFORNIA
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15   NATHANIEL WEISKIRCHER and                 Case No. 2:19-CV-2582-JAM-KJN
     ANNETTE WEISKIRCHER,
16                                             ORDER GRANTING JOINT
                     Plaintiffs,               AMENDED STIPULATION TO
17                                             CONTINUE TRIAL AND CERTAIN
            v.                                 PRETRIAL DEADLINES
18   AMERICAN AIRLINES, INC.,
19                   Defendant.
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22         Before the Court is the parties’ Joint Amended Stipulation to Continue Trial and
23   Certain Pretrial Deadlines (“Stipulation”). Good cause appearing, the Court, therefore,
24   grants the Stipulation and enters the following Order. IT IS HEREBY ORDERED that:
25         1.    Trial is continued from August 7, 2023, at 9:00 a.m. to March 11, 2024, at
26               9:00 a.m.
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                                            ORDER
      Case 2:19-cv-02582-JAM-KJN Document 63 Filed 03/20/23 Page 2 of 2



 1        2.     The Scheduling Order in this matter (D.E. #59) and Minute Order (D.E.
 2               #61) is modified as follows:
 3
 4    DATE                               ACTION ITEM
 5
      September 22, 2023                 Dispositive motion deadline
 6
      November 28, 2023, at 1:30 p.m. Dispositive Motion Hearing
 7
 8    October 31, 2023                   Deadline to file joint mid-litigation statement
 9    November 14, 2023                  Deadline to complete all discovery
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      December 14, 2023                  Deadline to mediate
11
      January 26, 2024, at 10:00 a.m. Pre-trial Conference
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13
          3.     Unless expressly modified herein, the parties shall otherwise comply with
14
                 the Scheduling Order.
15
16        IT IS SO ORDERED.
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     Dated: March 20, 2023                  /s/ John A. Mendez
18                                          THE HONORABLE JOHN A. MENDEZ
19                                          SENIOR UNITED STATES DISTRICT JUDGE

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                                           ORDER
